360 F.3d 1141
    Aja TERMINE, by and through her Guardian Ad Litem Karen TERMINE; Karen Termine, an individual, Plaintiffs-Appellants,v.WILLIAM S. HART UNION HIGH SCHOOL DISTRICT; Westmark School, Defendants-Appellees.
    No. 02-56638.
    United States Court of Appeals, Ninth Circuit.
    March 12, 2004.
    
      Marcy J.K. Tiffany, Steven M. Wyner, Wyner &amp; Tiffany, Torrance, CA, for Plaintiffs-Appellants.
      Barrett K. Green, Littler &amp; Mendelson, Los Angeles, CA, Harold Gutenberg, Greenberg &amp; Bass, Encino, CA, for Defendants-Appellees.
      Before Betty B. Fletcher, Jerome Farris, and Kim McLane Wardlaw, Circuit Judges.
    
    ORDER
    
      1
      The order entered on January 9, 2004 is converted to a memorandum disposition and modified as follows:
    
    
      2
      Delete the first sentence in paragraph 3: "The appellants have unnecessarily procedurally complicated the issues in this case."
    
    
      3
      Delete the sentence in paragraph 3, line 7: "Further, the SEHO considered the stay-put issue as part of the due process hearing."
    
    
      4
      Delete the first sentence in paragraph 4: "All critical issues have been raised and decided in the SEHO due process proceeding."
    
    
      5
      Revise the second sentence in paragraph 4 to read: "The parties have appealed the decision in the due process hearing to the district court."
    
    
      6
      Revise the last sentence in paragraph 4 to read: "We direct that the district court vacate its opinion that is the subject of this appeal and reconsider its opinion in light of Vashon Island Sch. Dist., the record in the appeal from the due process hearing and any additional evidence it may take at the request of the parties or either of them."
    
    
      7
      The clerk shall depublish the order and substitute the unpublished memorandum disposition.
    
    
      8
      The panel has voted to deny the petition for panel rehearing. Judge Wardlaw votes to deny the petition for rehearing en banc and Judges B. Fletcher and Farris so recommend.
    
    
      9
      The full court has been advised of the petition for rehearing en banc and no judge has requested a vote on whether to rehear the matter en banc. Fed. R.App. P. 35.
    
    
      10
      The petition for panel rehearing and the petition for rehearing en banc are denied.
    
    
      11
      No further petition for rehearing or rehearing en banc will be entertained.
    
    